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                               UNITED STATES DISTRICT COURT
13                                  DISTRICT OF NEVADA
14
15 IP POWER HOLDINGS LIMITED,                      Case No. 2:19-cv-01878-MMD-NJK

16                Plaintiff,

17         v.                                      ORDER RE:
                                                   STIPULATED NOTICE OF
18 WESTFIELD OUTDOOR, INC.,                        DISMISSAL WITH PREJUDICE
19            Defendant.
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                                 STIPULATED NOTICE OF DISMISSAL
            Case 2:19-cv-01878-MMD-NJK Document 55 Filed 11/05/20 Page 2 of 2




 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff IP POWER

 2 HOLDINGS LIMITED and Defendant WESTFIELD OUTDOOR, INC., by and through their
 3 counsel of record, hereby stipulate to dismissal of the above-entitled action, including any and all
 4 claims and counterclaims, with prejudice with each party bearing their own attorneys’ fees and
 5 costs.
 6    DATED this 4th day of November, 2020               DATED this 4th day of November, 2020
 7
      DICKINSON WRIGHT PLLC                              THOMPSON COBURN, LLP
 8
 9    /s/ Michael N. Feder                               /s/ Michael L. Nepple
      MICHAEL N. FEDER                                   MICHAEL L. NEPPLE
10    NEVADA BAR NO. 7332                                (Admitted Pro Hac Vice)
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12    Las Vegas, Nevada 89169                            St. Louis, MO 63101
      Tel: (702) 550-4400                                Tel: (314) 552-6149
13
      ALSTON & BIRD LLP                                  Attorneys for Defendant Westfield Outdoor,
14    RYAN W. KOPPELMAN                                  Inc.
      (Admitted Pro Hac Vice)
15    Email: ryan.koppelman@alston.com
16    950 Page Mill Road
      Palo Alto, CA 94304
17    Tel: (650) 838-2000

18    Attorneys for Plaintiff IP Power Holdings
      Limited
19
20                                                ORDER

21          Pursuant to the stipulation of the parties under Federal Rule of Civil Procedure

22 41(a)(1)(A)(ii), IT IS ORDERED THAT THIS ACTION BE, AND HEREBY IS, DISMISSED
23 WITH PREJUDICE as to all claims, causes of action, and parties, with each party bearing that
24 party’s own attorney’s fees and costs.
25          IT IS SO ORDERED.

26          DATED THIS 5th Day of
            November 2020.
                                                  Honorable Miranda M. Du
27
                                                  United States District Judge
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                                                     2
                                   STIPULATED NOTICE OF DISMISSAL
